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 2   2220 Otay Lakes Rd Suite 502-92
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 5   Attorneys for Plaintiff Luminence, LLC,
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 8                           UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     LUMINENCE, LLC,
12
                                                     CASE NO: 19-cv-0157-JAH-MDD
                          Plaintiff,
13                                                   NOTICE OF MOTION AND MOTION
14           vs.                                     FOR FINAL JUDGMENT
15
     ULTRAMAILERS, INC.; CM                          Date: July 1, 2019
16
     ENTERPRISES, INC.; THEOD                        Time: 2:30 p.m.
17   SIMONIAN, an individual;                        Judge: Honorable John A. Houston
     and HAIK ABDUNURYAN, an
18
     individual,
19                    Defendants.
20

21                   PLAINTIFF’S MOTION FOR FINAL JUDGMENT
22         Comes now Plaintiff LUMINENCE, LLC and requests the Court, pursuant to
23   Rule 55(b)(1) of the Federal Rules of Civil Procedure, for the entry of final judgment by
24   default against the Defendants. In support of this request, LUMINENCE, LLC relies
25   upon the record in this case, the Memorandum in Support of this motion filed herewith,
26   the Declaration of Matthew Capron previously filed in this case, the Declaration of
27   Matthew Capron filed herewith, and such other and further oral and documentary
28   evidence which may be presented at the time of the hearing of this motion.

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                           NOTICE OF MOTION AND MOTION FOR FINAL JUDGMENT
 1   Dated: May 13, 2019                          Respectfully submitted,
                                                  CAPRON LAW OFFICES
 2
                                                  By: s/Matthew Capron
 3                                                MATTHEW CAPRON
 4                                                Attorneys for Luminence, LLC
                                                  email: mcapron@capronlegal.com
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                           NOTICE OF MOTION AND MOTION FOR FINAL JUDGMENT
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                                CERTIFICATE OF SERVICE
 2
            I am a resident of the State of California, over the age of eighteen years, and
 3   not a party to the within action. My business address is CAPRON LAW OFFICES,
     2220 Otay Lakes Rd Suite 502-92, Chula Vista, California 91915. On May 13, 2019, I
 4
     served the foregoing document. 
 5

 6        USPS MAIL TO:         Ultramailers, Inc
 7
                                 17647 Prairie St
                                 Northridge, CA 91325
 8
                                 CM Enterprises, Inc
 9                               17647 Prairie St
10                               Northridge, CA 91325
11                               Theod Simonian
                                 17647 Prairie St
12
                                 Northridge, CA 91325
13
                                 Haik Abdunuryan
14                               17647 Prairie St
15
                                 Northridge, CA 91325

16
           (Federal) I declare under penalty of perjury under the laws of the State of
17         California that the foregoing is true and correct.
18
     Executed on May 13, 2019, at Chula Vista, California.
19

20                                                       s/Matthew H. Capron
                                                         Matthew H. Capron
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                           NOTICE OF MOTION AND MOTION FOR FINAL JUDGMENT
